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                             United States District Court
                            Southern District of New York


Virginia L. Giuffre,

               Plaintiff,                           Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/




         PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S
      MOTION IN LIMINE TO EXCLUDE FBI 302 STATEMENT OF PLAINTIFF




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 Dated: March 17, 2017

                                        Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 17th day of March, 2017, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

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